Exhibit “F”
3/31/2020                                                   Man Buys Old Airplane And Turns It Into His Home | Icepop

        •
                    pop                                   HOME CUTE LIFE HACKS IMPACT




       THIS 101-YEAR-OLD             HEARTWARMING                 EMPATHETIC                   3 INSTAGRAM-ABLE         THE INTERNET IS
       WOMAN’S WHOSE                 DADDY-DAUGHTER               THERAPY CORGI                SPOTS AROUND THE         EATING UP THIS
       SON DROVE HER                 PHOTOSHOOT WITH              WARMING A                    U.S. TO UP YOUR          SPUNKY PUP’S
       FOR A JOYFUL                  TWO FATHER                   GRIEVING                     INSTA GAME               UNIQUE ‘CINNAMON




      Man Buys Old Airplane
      And Turns It Into His
      Home
      INNOVATION |JUNE 20, 2018 |DANIELLE PROPHETA



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      If you were to ﬁnd an airplane in the middle of the
      woods, what would you think? Is it the scene of a
      mysterious plane crash? An old plane junkyard?
      If it happens to be in Hillsboro, Oregon, then
      that’s just the not-so-humble abode of Bruce
      Campbell, a retired electrical engineer and very

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      inventive man. Bruce likes to turn planes that
      would have otherwise            HOME
                     UP NEXTbecome scrap metal intoCUTE                                        LIFE HACKS IMPACT
                       Couple
      beautiful upcycled      Thought They
                         masterpieces.      Are
                                       He believes that
                               Having A Baby. Husband
      airplanes can have so much
                      Faints Whenpotential
                                  Doctor...outside of
      their intended use. He’s used his good
      imagination, an old airplane, and a good piece of
      land to create the most unique home on Earth.
      Read on to see how he built his very exotic home
      and take a look inside!

       1. Dream Big
      Bruce Campbell, a 64-year-old retired electrical
      engineer, always had creative vision. When he
      was in his early 20s, he purchased a 10-acre
      piece of land for $23,000 deep in the forest of
      Hillsboro, Oregon with a very clear vision in mind.




      cbsnews.com

      From a young age, Campbell loved to tinker with
      old objects and materials to create new things.
      His plan for this area of land was to construct a
      home for himself out of several freight vans. It
      sounded like a wonderful and innovative plan, but
      that was until he heard about a home someone
      else had built.

       2. Change of Plans
      About two decades later, Bruce Campbell heard
      about Joanne Ussery, a hairdresser from

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      Mississippi who bought a Boeing 727 plane and
      transformed it into
                        UP her           HOMEhouse
                           NEXThome. Her previous CUTE                                         LIFE HACKS IMPACT
      burned down, soCouple   Thought
                      after that       They Are
                                 she decided to build a
                               Having A Baby. Husband
      functional airplane home
                        Faints  next Doctor...
                               When  to a peaceful
      lakeside.




      vt.co

      He was already moving forward with his freight
      van home idea, but Campbell thought a gigantic
      plane sounded so much more innovative and fun
      to play with. After all, he strongly believed
      airplanes should be saved from becoming scrap
      metal. Land wasn’t an issue because he already
      owned 10 acres, but he’d need enough money to
      buy and transport this unconventional kind of
      vehicle to Oregon.

       3. Buying a Boeing
      In 1999, Campbell decided to purchase a Boeing
      727 aircraft from Olympic Airways, based
      at Athens Airport for the sum of a whopping
      $100,000. Once he acquired the airplane, he
      needed to transport the massive aircraft to the
      woods in Oregon.




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                               UP NEXT                    HOME CUTE LIFE HACKS IMPACT
                               Couple Thought They Are
                               Having A Baby. Husband
                               Faints When Doctor...




      mirror.co.uk

      Transporting the plane from Athens, Greece, to
      Oregon proved to be the most daunting task out
      of the entire venture. Staging and carrying out the
      move, as well as several other aspects of the
      project, set him back another $120,000, which
      meant the airplane cost a total of $220,000. But it
      seemed like Campbell would make his money’s
      worth of every single penny in more ways than he
      anticipated.

       4. The Big Move
      The industrious Bruce Campbell couldn’t wait to
      get to work on his new and rather large project,
      but ﬁrst he had to move the plane deep into the
      woods of Oregon. Several men had to take the
      wings of the plane apart to be able to transport
      Campbell’s new purchase to the secluded piece
      of land.




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      They deconstructed the wings in such a way that
      Campbell was able                 HOME
                        to reinstall them
                    UP NEXT               once the                           CUTE LIFE HACKS IMPACT
                       Couple
      airliner was parked in itsThought They
                                new home.    Are
                                           Campbell
                               Having A Baby. Husband
      believed his newFaints
                       idea would
                             Whenjust start off as a
                                  Doctor...
      “work in progress,” but it eventually morphed into
      something much more than that after many years
      of hard work and innovation.

       5. Hard Learned Lessons
      At ﬁrst, Bruce Campbell just saw the airplane as
      a fun undertaking with no particular vision,
      however, the one thing that was clear to him was
      that he wanted to upcycle the aircraft. He strongly
      believed that jetliners could be transformed into
      incredible homes instead of being “mindlessly
      scrapped.”




      boredpanda.com

      For many years, Campbell worked on the
      fuselage while he resided in the freight vans
      nearby. It wasn’t easy for him to move to the
      forest, but he had a goal and wasn’t going to let it
      pass him by. Eventually, however, the van
      became infested with mice, so Campbell was
      forced to move into the aircraft without a building
      permit. This is when he started to truly
      understand the space; a space you wouldn’t
      believe was once a fully-functional airplane.

       6. When Science and Art Meet

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      Talking to the Mirror about his vision Campbell
      declared that “shredding
                       UP NEXT          HOME
                               a beautiful and                               CUTE LIFE HACKS IMPACT
                          Couple
      scintillating jetliner        Thought
                             is a tragedy in They Are
                                             waste, and a
                               Having A Baby. Husband
      profound failure of human
                       Faints   imagination.”
                              When Doctor... He went
      on to say that some people might ﬁnd a plane in
      the woods a strange, lonely living environment,
      but to him, it always felt totally natural. He
      believes that aircraft possess an “engineering
      grace unmatched by any other structures people
      can live within.”




      cbsnews.com

      He never drew up plans for the interior of the
      Boeing 727, but once he moved in, it all became
      so clear to him. “Next time you’re in a jetliner,
      close your eyes for a moment and remove all the
      seats, all the other people from your mind,” he
      told Business Insider when explaining his vision.
      “Then open your eyes with that vision and
      consider the expanse of the living room. It’s a
      good environment; it really is,” he said.

       7. Hello, World!
      Before Bruce Campbell was ready to show off his
      masterpiece aircraft home to the world, he
      washed the exterior of the fuselage with a high-
      pressure water spray. He told Daily Mail that it
      sounds rather easy, but pressure washing takes
      about four days.

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                               UP NEXT                    HOME CUTE LIFE HACKS IMPACT
                               Couple Thought They Are
                               Having A Baby. Husband
                               Faints When Doctor...




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      The exterior of the Boeing 727 needs to be
      washed every two years and he needs to use
      ladders to access the engines and the top of the
      plane. Washing his beloved home could even be
      quite dangerous if he were to fall or if the water
      hose were to swing unexpectedly. That part
      makes him nervous, but once you see what he
      has done with the plane you’ll understand why it’s
      all worth it.

       8. Aerospace Castle
      According to Campbell every plane is destined to
      become an “aerospace class castle,” ﬁt for
      anyone to live and retire in. “If a conventional
      home is a legacy age family Chevy or Ford, an
      airliner is a fresh new Tesla or Porsche Carrera,”
      he claimed during his interview with Daily Mail.




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                               UP NEXT                    HOME CUTE LIFE HACKS IMPACT
      Indeed, just like a castle, Campbell propped his
                               Couple Thought They Are
      big commercial Boeing
                     Having727 airliner
                            A Baby.     on concrete
                                     Husband
      pillars, complete Faints
                        with itsWhen  Doctor...
                                 very own driveway just
      outside Hillsboro, Oregon. If anyone were to take
      a visit to the area, they would immediately notice
      how much work has been put into the airplane
      and that it didn’t just somehow miraculously land
      there.

       9. What Stays and What Goes
      Campbell tried to make use of all the equipment
      the plane already had, leaving most of the
      instruments and controls in the cockpit. However,
      he also changed things up by restoring and
      modifying the interior of the aircraft to make it ﬁt
      to live in every day.




      mirror.co.uk

      To him, his new home is a constant work in
      progress while also a fully-functional home. While
      he built his own makeshift shower, he worked to
      restore the original features like the ﬂight stairs,
      the airplane-style lavatory, LED lighting, and
      some of the original seating. So what exactly
      does Campbell’s airplane home look like today?

       10. Welcome To My Crib
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      When one enters Bruce Campbell’s Boeing 727
      home, they needUPtoNEXT           HOME
                          use the airplane’s original                        CUTE LIFE HACKS IMPACT
                      Couple
      fold-down stairwell,       Thought
                           just like       They Are would
                                     its passengers
                               Having A Baby. Husband
      have done back Faints
                     when the plane
                            When    was still in use
                                 Doctor...
      and on the tarmac of a busy airport.




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      He has thought about every little detail, like the
      shoe rack at the front of the plane. The shoe rack
      is ﬁlled with numerous pairs of slippers, ready for
      visitors when Campbell greets them in his home.
      He prefers that everyone wear socks and slippers
      inside the aircraft to keep it clean, as cleaning
      such a big home isn’t all that easy.

       11. First House Rule
      Seeing that the glass ﬂoor can get dirty quickly
      because of the surrounding forest, he sticks to
      his sock/slipper rule at all times to ensure the
      plane is constantly in pristine condition. He lives
      alone, but that doesn’t mean he doesn’t take
      pride in his home.




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                               UP NEXT                    HOME CUTE LIFE HACKS IMPACT
                               Couple Thought They Are
                               Having A Baby. Husband
                               Faints When Doctor...




      en.tengrinews.kz

      Campbell only wears slippers and socks to
      maneuver about in his unique Boeing 727 home.
      He loves the Plexiglas ﬂooring, which adds to the
      look of the home. He often stands on the glass
      imagining what else he can do with the aircraft.

       12. A Modest Life
      The retired Boeing 727 has plenty of space, but
      Bruce Campbell lives quite a modest lifestyle
      inside the plane. He sleeps on a futon, cooks with
      a microwave and toaster, eating mainly cereal
      and canned food, and constructs lots of
      makeshift equipment.




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                               UP NEXT                    HOME CUTE LIFE HACKS IMPACT
                               Couple Thought They Are
                               Having A Baby. Husband
                               Faints When Doctor...




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      Pictured here is Bruce stretching out on his futon
      bed, surrounded by many of his belongings.
      However, when he isn’t taking a load off, he is
      hard at work, constantly renovating certain
      elements like the bathroom, which is up next.

       13. Shower Power
      The aircraft features two of the original working
      lavatories, but the coolest part of it is the shower,
      which Campbell constructed close to the tail of
      the plane. In order for the plane to have running
      water and electricity to heat up the water, he dug
      a trench from where he rerouted a well power
      line.




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      He fused an old meter base with the old power
      cable and mounted a new circuit breaker cabinet
      inside the aircraft with a telecom cable, PVC
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      conduit (tubing), and a backup water pipe. This
      allows him to brush                HOME
                           his teeth and shave
                       UP NEXT                 with                          CUTE LIFE HACKS IMPACT
      clean water.             Couple Thought They Are
                               Having A Baby. Husband
                               Faints When Doctor...
       14. Fit for a Pilot
      The cockpit still contains all of the original
      instruments, but Campbell converted it into his
      reading and entertainment area. This is the part
      of the aircraft that he constantly wants to improve
      and renovate because of all the fun gadgets.




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      “It’s a great toy. Trick doors, trick ﬂoors. Hatches
      here, hatches there. Star Trek movies in a Star-
      Trek like setting,” he told Business Insider. He
      went on to say that living in a plane is a constant
      source of adventure for a tech nerd like him.
      “Having lots of little toys enclosed in a very big
      toy is nirvana.”

       15. An Engineer’s Working
       Station
      For most of the day, Campbell is aboard the
      plane, doing work on his computer at his work
      station, where he plans how to improve the
      design of his home further. He derives so much
      enjoyment from planning what he’ll do next. “I
      think most people are nerds in their hearts in



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      some measure. The point is to have fun,” he
      told Daily Mail.         UP NEXT                    HOME CUTE LIFE HACKS IMPACT
                               Couple Thought They Are
                               Having A Baby. Husband
                               Faints When Doctor...




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      It makes perfect sense that an engineer would
      want to live and work on his project at the same
      time because that’s the only way he gets to truly
      understand the space and what will make the
      area the most functional.

       16. Flashing Lights
      Just as Campbell constructed his very own
      running water system, he also restored the
      lighting both inside and out. He knew that living
      alone in a forest isn’t always easy, so he made
      sure all his basic amenities were covered.




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      This means that the plane is fully operational at
      night. He can work, read, and research in his

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      plane all through the night without having to
                    pop
      worry about power                HOME
                        cuts. He repaired
                     UP NEXT                        CUTE
                                          the original                                         LIFE HACKS IMPACT
      LED lights, whichCouple Thought
                        prove more    They Are
                                   environmentally
                               Having A Baby. Husband
      friendly.                Faints When Doctor...

       17. Keeping Up Appearances
      Not only does Bruce Campbell take care of the
      interior of his airplane, he also tends to the
      surrounding forest area around his Boeing 727.
      Just like someone would care for their garden or
      yard, Campbell feels the same about the weeds
      and grass around the airliner.




      mirror.co.uk

      Once a week he mows the lawn and picks the
      weeds beneath the plane to ensure that the area
      of his living space will look presentable at all
      times. It’s not an easy feat, but nothing is ever too
      much for Campbell.

       18. Innovation At Its Best
      When asked by the Daily Mail why he believes so
      strongly in upcycling aircraft and converting them
      into homes, Campbell emphasized the
      environmental beneﬁts of such an endeavor. He
      noted how durable and strong airplanes really
      are, saying they can even withstand storms and
      earthquakes.



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                               UP NEXT                    HOME CUTE LIFE HACKS IMPACT
                               Couple Thought They Are
                               Having A Baby. Husband
                               Faints When Doctor...




      boredpanda.com

      Not only can his Boeing 727 weather a storm, the
      plane is also easy to maintain and clean. “Their
      interior is easy to keep immaculately clean
      because they are sealed pressure canisters.
      They could last for centuries,” he said. Campbell
      also believes that converting airplanes could take
      traction around the world once people
      understand the environmental beneﬁts.

       19. Fully-Stocked Kitchen
      Some people would shy away from living on an
      airliner because of the lack of amenities and
      supplies, but Bruce Campbell proves that it’s
      simply not the case. He doesn’t live far from the
      city, so getting supplies isn’t an issue.




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      As you can see, Campbell has a fully stocked
      kitchenette with all the condiments,HOME
                       UP NEXT                        CUTE
                                           supplies, and                                       LIFE HACKS IMPACT
                     Couple
      produce he needs.     Thought
                        He might     They
                                 not be    Are
                                        able to cook
                               Having A Baby. Husband
      up a gourmet meal, but When
                     Faints  he’d rather feed his inner
                                   Doctor...
      tech soul than his tummy anyway. The kitchen
      has running water, a microwave, and toaster, so
      making basic meals is as easy as pie. At least he
      isn’t eating airplane food, right?!

       20. Going For a Spin?
      Campbell might not be able to take his Boeing
      727 out for a spin, but his home still offers that
      feeling with his row of preserved seats. He has
      kept them in their original form, and hence
      preserved that exciting feeling of being up in the
      air.




      boredpanda.com

      Most of the seats have been taken out to give
      him room to live and move around, but he wanted
      to keep a piece of the original plane to remind
      him why he loves his new unique home so much.
      Besides, guests are more than welcome to relax
      in the seats for as long as they want.

       21. Playing Pilot
      Campbell loves hanging out in the cockpit area.
      It’s the place where he gets his creative

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      engineering juices ﬂowing and it provides him
      with a neat little nook              HOME
                               to unwind, read,
                         UP NEXT                        CUTE
                                                and relax.                                     LIFE HACKS IMPACT
      It’s his very own Couple   Thought
                        little game room.They Are
                               Having A Baby. Husband
                               Faints When Doctor...




      mirror.co.uk

      Sitting in the cockpit gives Campbell the
      opportunity to imagine how a pilot must feel in the
      middle of a ﬂight with all those gadgets and
      ﬂashing lights before him or her. The power of
      technology and all its glory comes alive here.

       22. Laundry Matters
      When it comes to hygiene, there’s no need to
      wonder: Bruce Campbell has it all covered. He
      brushes his teeth with clean running water and
      even has his own top loader washing machine to
      keep his clothes looking clean and smelling fresh.




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      Campbell has proven that all one needs is a bit of
      imagination and UP
                      some                 HOME
                         NEXT skills, and basically                          CUTE LIFE HACKS IMPACT
                      Couple
      anything can become    Thought
                          a mobile orThey Are
                                     makeshift
                               Having A Baby. Husband
      home. So there you have
                     Faints   it, there
                            When        is no excuse
                                   Doctor...
      not to do your laundry if he can.

       23. A Typical Man
      Just because Campbell lives in an aircraft, it
      doesn’t mean that he doesn’t look after himself or
      his appearance. In fact, the meticulous design of
      the interior only reﬂects how neat and clean he
      really is on a daily basis.




      cbsnews.com

      He isn’t stranded on a boat or cut off from
      civilization, which means that Campbell shaves,
      showers, and cleans himself every day just like
      everyone else. Aboard his airplane home, he has
      just about everything a guy could possibly need.

       24. Getting Down to Basics
      Campbell said there is a huge beneﬁt to living in
      an airplane, made out of sturdy metal, instead of
      a home made of more common materials such as
      wood. He explained to Business Insider that
      “wood is, in my view, a terrible building material.
      It biodegrades – it’s termite chow and microbe
      chow. Or it’s ﬁrewood; depends upon which
      happens ﬁrst.”

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                               Couple Thought They Are
                               Having A Baby. Husband
                               Faints When Doctor...




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      He believes that traditional rectangular houses
      are actually inferior because they opt for
      ergonomics instead of strength. “To me it makes
      no sense at all to destroy the ﬁnest structures
      available and then turn around and build homes
      out of materials which are fundamentally little
      better than pressed cardboard, using ancient and
      inferior design and building methods,” he said.

       25. Being Logical
      A lot of people ask Campbell if the plane crashed
      in the Oregonian woods and if he simply restored
      the body of the plane. He doesn’t care for
      questions like those because he said they are
      totally illogical and unreasonable.




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                               Couple Thought They Are
                               Having A Baby. Husband
                               Faints When Doctor...




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      His goal is to teach the world how much hard
      work goes into such a project. It sounds odd to
      him that people don’t understand the intricacies
      behind his home, but he also understands that
      not everyone is aware of the possibilities.


       26. A Proud Owner
      Posing in his Boeing 727, Campbell is extremely
      proud of his home. Home is where the heart is,
      and for him that’s right inside this very airliner
      where he gets to play with his toys and gadgets
      and feel inventive all the time.




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                               Couple Thought They Are
                                                               HOME CUTE LIFE HACKS IMPACT
                               Having A Baby. Husband
                               Faints When Doctor...

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                                                                                •
       i\                                                                       '
      cbsnews.com

      This is just one notch on Campbell’s innovation
      belt, in that he has even bigger and more creative
      plans for the future. Read on to ﬁnd out what he’s
      going to do next and where he wants to
      implement it.

       27. Out and About
      Believe it or not, Bruce Campbell only resides in
      his Boeing 727 for six months of the year. He
      likes a change of scenery, so for the other half of
      the year, he lives in Japan, which is quite different
      from his Oregonian living situation.




      earthporm.com

      While he lives in Japan, Campbell works on
      many projects and ideas to keep himself busy.
      There is one venture in particular that has
      seriously piqued his interest, and you won’t
      believe what it is … or maybe you can guess.


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       28. An Upgrade
                               UP NEXT                    HOME CUTE LIFE HACKS IMPACT
      That’s right! Campbell
                       Coupleis Thought
                                planningThey
                                         on duplicating
                                             Are
                        Having
      his project all over again,Abut
                                   Baby.
                                      thisHusband
                                           time in Japan
                      Faints
      with an even bigger     Whenthe
                          airliner: Doctor...
                                      Boeing 747. He
      plans on buying a retired 747 airplane and
      converting it into another unique home for when
      he’s in Japan.




      cbsnews.com

      Seeing that he saved the environment in one
      country, it would only make sense that he’d do
      the same in his other place of residence. Now
      that he has already restored one airplane,
      moving into another one seems like a piece of
      cake to him.

       29. Changing the Mindset
      Campbell believes that his life purpose is to make
      a difference in the world for humanity and the
      environment. He is fueled by his thirst for
      innovation. After all, he worked as an electrical
      engineer for most of his life.




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                               UP NEXT                    HOME CUTE LIFE HACKS IMPACT
                               Couple Thought They Are
                               Having A Baby. Husband
                               Faints When Doctor...




      mirror.co.uk

      There is something about recycling airplanes that
      gets him all excited and giddy; a niche he wants
      to claim has his own. “My goal is to change
      humanity’s behavior in this little niche,” Campbell
      said as he stood with his airplane home.

       30. Why Oregon?
      Campbell chose to reassemble his Boeing 727
      airplane in the woods of Hillsboro, Oregon for two
      simple reasons: he was offered a job in the area
      after he graduated in the ’70s and he loves the
      greenery of the area. “I like the area and it’s very
      green and Oregon is a little independent minded
      which appealed to me. It’s a country setting, it’s
      very nice. It’s more than enough for the aircraft,”
      he wrote on his website.




      Josh Edelson for Daily Mail

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      The engineer put off buying a home until very late
      in his life. He toldUPDaily            HOME
                             NEXT Mail that he           CUTE
                                               never wanted                                    LIFE HACKS IMPACT
                      Couple
      to have a mortgage     Thought
                         because     They
                                 he felt thatAre
                                              it
                               Having A Baby. Husband
      restricted him ﬁnancially. When
                       Faints When    he ﬁnally had
                                    Doctor...
      enough money in cash to purchase a home,
      Campbell had a totally different idea in mind. “I
      had stopped thinking in provincial terms and I
      had thought like a free bird engineer,” he said.

       31. An Open House
      Bruce Campbell is happy to let curious onlookers
      and tourists stop by for a tour of his abode. You
      can even schedule appointments with him via his
      website if you’re in the area and you’re curious to
      see what it’s like to reside in an aircraft.




      Josh Edelson for Daily Mail

      When asked how he feels about these passersby,
      Campbell told Daily Mail: “It happens frequently;
      it happens almost every day now and I
      encourage it.” He’s happy for everyone to witness
      his innovative home, as he wants to show people
      what he believes to be “a great toy” and “one of
      the ﬁnest structures mankind has ever built.”

       32. Don’t Mind Me
      With quite a few people frequently dropping by to
      get a tour of Campbell’s awesome Boeing 727,
      there have deﬁnitely been some awkward
      moments. One time in particular, he was taking a
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      shower when several onlookers walked in for a
      visit.                   UP NEXT                    HOME CUTE LIFE HACKS IMPACT
                               Couple Thought They Are
                               Having A Baby. Husband
                               Faints When Doctor...




      Josh Edelson for Daily Mail

      Campbell explained that three quarters of his
      visitors schedule a time with him ﬁrst on his
      website, but the other quarter just arrive
      randomly at any given time. “I live in a pretty
      transparent environment. I go about living while
      people are touring my aircraft and sometimes it’s
      very intimate,” he told Daily Mail. On the other
      hand, he ﬁnds it extremely rewarding because he
      gets to learn a lot and meet interesting people.

       33. Concert on a Wing
      Not only does Campbell open his house to
      inquisitive guests; he also hosts several events
      during the year. From the June 30 to July 3,
      2018, he hosted Yuko Pomily, a vocalist from
      Tokyo, and other artists for a one-of-a-kind show.
      It took place on the grassy area in front of the
      right wing of his aircraft.




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                               UP NEXT                    HOME CUTE LIFE HACKS IMPACT
                               Couple Thought They Are
                               Having A Baby. Husband
                               Faints When Doctor...




      Josh Edelson for Daily Mail

      He advertised the show on his website as “A new
      concert option: Superb music rendered from a
      wing of a scintillating aerospace home” with
      several instructions and guidelines. He advised
      the guests to come in comfortable clothing ﬁt for
      the countryside as well as tennis or running
      shoes. Campbell even offered slippers for those
      who desired to enter this aircraft cabin.

       34. Partying on a 727
      For those of you who missed the music show,
      Bruce Campbell is hosting a massive DJ dance
      party with his friends who own the Portland
      based party promotion company called
      Murderboat Productions, from the 7th to 9th of
      September, 2018.




      Josh Edelson for Daily Mail




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      Dubbed Turbulence: A Dance Party at a 727 in
      the Woods, the UP
                     party               HOME
                        NEXTwill take place           CUTE
                                            on the wing                                        LIFE HACKS IMPACT
                       Couple Thought
      with the guests partying          They Are
                               on the ground including
                               Having A Baby. Husband
      a tour of the aircraft.
                        FaintsSoWhen
                                far, more than 14,000
                                      Doctor...
      people have shown interest on Facebook for
      what proves to be an unforgettable party of art,
      beer, and food with the permission of the Oregon
      Liquor Control Commission.

       35. Campbell’s Social Life
      Bruce Campbell is content with his modest
      lifestyle in his inventive bachelor pad, and he isn’t
      about to give it up ― not even to pursue love. “I
      will not marry and will not generate kids. I’m 68
      so it’s too late anyway, but I simply never desired
      to be married or have kids. I enjoy romance and
      love and I indulge in it as much as civilization will
      allow,” he declared to Daily Mail.




      Josh Edelson for Daily Mail

      He absolutely adores his nontraditional home,
      which explains why he ﬁnds the traditional
      concept of love and marriage just as conﬁning as
      a mortgage. However, he is very close to a set
      neighbors who support what he does and believe
      in his vision completely. What’s more, his modest
      life certainly doesn’t deter his outspoken
      ambition, which brings us to this next project that
      is currently in the works.

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       36. Aerospace Castle V2.0
                UP NEXT    HOME CUTE LIFE HACKS IMPACT
      Campbell splits his time Thought
                      Couple   between They
                                       living Are
                                              in his
      Boeing 727 in theHaving
                        woodsAofBaby. Husband
                                 Oregon  and residing
      in Japan, where Faints When
                      he hopes     Doctor... a piece of
                               to purchase
      land to create his second airplane home with an
      even bigger Boeing 747-400.




      Josh Edelson for Daily Mail

      He simply can’t get enough of the thrill that
      comes with upcycling airplanes, and believes that
      everyone else will feel the same once they visit
      the plane for social events and open tours. On
      his website, Campbell wrote that his goal is to
      “spark a renaissance of thought about how to
      utilize this remarkable resource.” His desire is for
      others to start building their very own airplane
      homes as well.

       37. A Rebel with a Cause
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      The talented engineer plans to start work on his
      second airplane UP
                      home                HOME
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                        Couple
      shores of the island     Thought
                           of Kyushu. HeThey Are this
                                         prefers
                               Having A Baby. Husband
      location becauseFaints
                       he wants hisDoctor...
                             When   home to serve as
      a haven not only for him, but for the local
      community.




      Josh Edelson for Daily Mail

      His vision is to transform this airplane into a
      tsunami lifeboat for places regularly threatened
      by tsunamis like Kyushu. Campbell wants people
      to know how airplanes can last for centuries and
      withstand very harsh conditions, owing to their
      high aerospace sealed pressure technology.

       38. All Aboard!
      The aircraft Bruce Campbell used to construct his
      home in Oregon is a Boeing 727-400 model,
      which was produced by Boeing from 1960 up
      until 1984. The model was constructed for short
      and medium-length ﬂights, as it could use shorter
      runways at smaller airports.



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                               UP NEXT                    HOME CUTE LIFE HACKS IMPACT
                               Couple Thought They Are
                               Having A Baby. Husband
                               Faints When Doctor...




      Josh Edelson for Daily Mail

      This aircraft is the only aircraft model that Boeing
      Commercial Airplanes built with three engines
      and could seat between 149 to 189 passengers.
      Delta Air Lines was the last major U.S. carrier to
      use the model and retired its last 727 in April,
      2003, while Northwest Airlines retired its last 727
      in June, 2003. Today, only Iran Aseman Airlnes
      still operate 3 727-200s for passenger services.

       39. A Bleaker History
      Before Campbell purchased the Boeing 727 and
      turned it into his masterpiece airplane home, the
      aircraft was obviously used to transport people to
      different destinations. Well, how about the fact
      that it also transported a dead body and
      somebody very famous?!




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                               Couple Thought They Are
                               Having A Baby. Husband
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      usmagazine.com

      Yep! The steel bird, which Campbell likes to call
      home now, once transported Greek tycoon
      Aristotle Onassis’s body to Greece after he died
      in France of respiratory failure on March 15,
      1975. Jackie Kennedy Onassis, the former First
      Lady of the United States of America and
      Aristotle’s long-time friend and wife at the time,
      accompanied his body on the plane.

       40. One of a Few
      Turns out that Campbell is one of small number
      of people around the world, from Texas to Costa
      Rica and the Netherlands, who have transformed
      retired airliners and aircraft into functional living
      spaces. Martin Todd, a spokesman for the
      Aircraft Fleet Recycling Association, said that the
      group “is happy to see aircraft fuselages re-
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      purposed in a range of creative ways. We would
      want them to be UP
                      recovered
                         NEXT   and to HOME
                                       be re-used inCUTE                                       LIFE HACKS IMPACT
                     Couple
      an environmentally     Thought
                         sustainable   They Are
                                     fashion,” Todd
                               Having A Baby. Husband
      said.                    Faints When Doctor...




      airplanehome.com

      AFRA is an organization which focuses on
      promoting sustainable practices for engines and
      aircraft. Another spokesman estimated that
      between 1,200 to 1,800 aircraft will be dismantled
      around the world over the next three years, while
      500 to 600 will be retired every year over the next
      20 years. Those could all be homes if more
      people start learning from Bruce Campbell’s
      example!

      If you found this article interesting, please
      SHARE with your friends!

      Sources: Business Insider, Daily Mail, Mirror,
      Hufﬁngton Post, Bored Panda



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                                                                                                                   3. Buying a Boeing
                                                                                  In 1999, Campbell decided to purchase a Boeing 727 aircraft from Olympic Airways,
                                                                                  based at Athens Airport for the sum of a whopping $100,000. Once he acquired the
                                                                                  airplane, he needed to transport the massive aircraft to the woods in Oregon

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                                                                                  Transporting the plane from Athens, Greece, to Oregon proved to be the most
                                                                                  daunting task out of the entire venture. Staging and carrying out the move, as well as
                                                                                  several other aspect s of the project, set him back another $120,000, which meant t he
                                                                                  airplane cost a total of$220,000. But it seemed like Campbell would make his money's
                                                                                  worth of every single penny in more ways than he anticipated

                                                                                                                    4. The Big Move
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                                                                                     Man Buys Old Airplane And Turns It Into His Home




                                                                                                                                                                                                  He Certain ly Didn't Expect To Find Th is in
                                                                                                                                                                                                  His Elderly Relati ve's Ho use




                                                                                     If you were to find an airplane in the middle of the woods, what would you think? Is it
                                                                                     the scene of a mysterious plane crash? An old plane junkyard? If it happens to be in
                                                                                     Hillsboro, Oregon, then that's just the not-so-humble abode of Bruce Campbell, a
                                                                                     retired electrical engineer and very inventive man. Bruce likes to turn planes that
                                                                                     would have otherwise become scrap metal into beautiful upcycled masterpieces. He
                                                                                     believes that airplanes can have so much potential outside of their intended use. He"s
                                                                                     used his good imagination, an old airplane, and a good piece of land to create the most                     Ameri ca nEagle Refuses toAirbru shlhei r
                                                                                                                                                                                                 Ling erieMod els -Eve n More Body
                                                                                     unique home on Earth. Read on to see how he built his very exotic home and take a                           Positiv ity! -lce Po p
                                                                                     look inside!

                                                                                                                               1. Dream Big
                                                                                     Bruce Campbell, a 64-year-old retired electrical engineer, always had creative vision                         '                    ,\ '.':i/fi'-.
                                                                                                                                                                                                       •                   fl:.,
                                                                                     When he was in his early 20s, he purchased a IO-acre piece of land for $23,000 deep in
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                                                                         To him, his new home is a constant work in progress while also a fully-functional
                                                                         home. While he built his own makeshift shower, he worked to restore the original
                                                                         features like the flight stairs, the airplane-style lavatory, LED lighting, and some of the
                                                                         original seating. So what exactly does Campbell's airplane home look like today?

                                                                                                          10. Welcome To My Crib
                                                                         When one enters Bruce Campbell"s Boeing 727 home, they need to use the airplane's
                                                                         original fold-down stairwell,just like its passengers would have done back when the
                                                                         plane was still in use and on the tarmac of a busy airport




                                                                               a             Stop Your Hair Loss Today
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                                                                         He has thought about every little detail, like the shoe rack at the front of the plane. The
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                                                                                               Planned Parenthood                                        IIJ
                                                                         Campbell only wears slippers and socks to maneuver about in his unique Boeing 727
                                                                         home. He loves the Plexiglas flooring, which adds to the look of the home. He often
                                                                         stands on the glass imagining what else he can do with the aircraft

                                                                                                            12. A Modest Life
                                                                         The retired Boeing 727 has plenty of space, but Bruce Campbell lives quite a modest
                                                                         lifestyle inside the plane. He sleeps on a futon, cooks with a microwave and toaster,
                                                                         eating mainly cereal and canned food, and constructs lots of makeshift equipment.




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                                                                         Pict ured here is Bruce stretching out on his futon bed, surrounded by many of his
                                                                         belongings. However, when he isn't taking a load off, he is hard at work, constantly
                                                                         renovating certain elements like the bathroom, which is up next.

                                                                                                           13. Shower Power
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                                                                               belongings. However, when he isn't taking a load off, he is hard at work, constantly
                                                                               renovating certain elements like the bathroom, which is up next

                                                                                                                  13. Shower Power
                                                                               The aircraft features two of the original working lavatories, but the coolest part of it is
                                                                               the shower, which Campbell constructed close to the tail of the plane. In order for the
                                                                               plane to have running water and electricity to heat up the water, he dug a trench from
                                                                               where he rerouted a well power line



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                                                                                 ult's a great toy. Trick doors, trick floors. Hatches here, hatches there. Star Trek movies
                                                                                 in a Star-Trek like setting,"' he told Business Insider. He went on to say that living in a
                                                                                 plane is a constant source of adventure for a tech nerd like him. uHaving lots of little
                                                                                 toys enclosed in a very big toy is nirvana."

                                                                                                          15. An Engineer's Working Station
                                                                                 For most of the day, Campbell is aboard the plane, doing work on his computer at his
                                                                                 work station, where he plans how to improve the design of his home further. He
                                                                                 derives so much enjoyment from planning what he'll do next. "I think most people are
                                                                                 nerds in their hearts in some measure. The point is to have fun ," he told Daily Mail.
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                                                                                in a Star-Trek like setting,"' he told Business Insider. He went on to say that living in a
                                                                                plane is a constant source of adventure for a tech nerd like him. uHaving lots of little
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                                                                                                         15. An Engineer's Working Station
                                                                                For most of t he day, Campbell is aboard the plane, doing work on his computer at his
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                                                                                It makes perfect sense that an engineer would want to live and work on his project at
                                                                                the same time because that's the only way he gets to truly understand the space and
                                                                                what will make the area the most funct ional
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                                                                                                                 17. Keeping Up Appearances
                                                                                     Not only does Bruce Campbell take care of the interior of his airplane, he also tends to
                                                                                     the surrounding forest area around his Boeing 727. Just like someone would care for
                                                                                     their garden or yard, Campbell feels the same about the weeds and grass around the
                                                                                     airliner.




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                                                                                     Once a week he mows the lawn and picks the weeds beneath the plane to ensure that
                                                                                     the area of his living space will look presentable at all times. It's not an easy feat, but
                                                                                     nothing is ever too much for Campbell

                                                                                                                   18. Innovation At Its Best
                                                                                     When asked by the Daily Mail why he believes so strongly in upcycling aircraft and
                                                                                     converting them into homes, Campbell emphasized the environmental benefits of such
                                                                                     an endeavor. He noted how durable and strong airplanes really are, saying they can
                                                                                     even withstand storms and earthquakes
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                                                                     0      Man Buys Old Airp lan e An d Tu rns It Into His Home                               f   SHARETHISSTORY   - -
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                                                                     creative engineering juices flowing and it provides him with a neat little nook to


                                                                     -
                                                                     unwind, read, and relax. It's his very own little game room

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                                                                                     Get real-time driver feedback
                                                                                     with Drivewise'.
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                                                                                     Wa rm up to affordable hea lth care.

                                                                     Sitting in the cockpit gives Campbell the opportunity to imagine how a pilot must feel
                                                                     in the middle of a flight with all those gadgets and flashing lights before him or her.
                                                                     The power of technology and all its glory comes alive here.

                                                                                                      22. Laundry Matters
                                                                     When it comes to hygiene, there's no need to wonder: Bruce Campbell has it all
                                                                     covered. He brushes his teeth with clean running water and even has his own top
                                                                     loader washing machine to kee p his clothes looking clean and smelling fresh

                                                                                      Santa Ana, CA: This Tiny, Unknown Company Is
                                                                                      Disrupting A 91 Billion Dollar Industry
